988 F.2d 1280
    300 U.S.App.D.C. 322, 2 A.D. Cases 1520
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Michael J. GALLAGHER, Appellant,v.Henry E. CATTO, Director, U.S. Information Agency.
    No. 92-5213.
    United States Court of Appeals, District of Columbia Circuit.
    Feb. 1, 1993.
    
      778 F.Supp. 570
      AFFIRMED.
      Before MIKVA, Chief Judge, and STEPHEN F. WILLIAMS and SENTELLE, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the motion for summary affirmance, the opposition thereto and the reply, it is
    
    
      2
      ORDERED that the motion be granted substantially for the reasons stated by the district court in its opinion filed December 9, 1991.   The merits of the parties' positions are so clear as to warrant summary action.   See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C.Cir.1987) (per curiam);   Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam), cert. denied, 449 U.S. 994 (1980).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 15.
    
    